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     Attorney for Defendant
 5
     JAFFREY BROWN
 6

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 8                               UNITED STATES DISTRICT COURT
 9
                                EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                         Case No.: 2:15-CR-176 TLN
11
                   Plaintiff,
12
     vs.                                               STIPULATION AND ORDER TO
13                                                     CONTINUE SENTENCING HEARING AND
14   JAFFREY BROWN,                                    MODIFY PRE-SENTENCE REPORT
                                                       DEADLINES
15                 Defendant.
16
                                                       Court:      Hon. Troy L. Nunley
17                                                     Date:       November 16, 2017
                                                       Time:       9:30 a.m.
18

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23          The parties to this action, Plaintiff United States of America by and through Assistant

24   U.S. Attorney Rosanne Rust and Attorney Todd D. Leras on behalf of Defendant Jaffrey Brown
25   request to continue the date presently set for Judgment and Sentencing in the above-reference
26
     matter from September 28, 2017 to November 16, 2017. Defendant has completed her interview
27   ORDER CONTINUING
     SENTENCING HEARING AND
28   MODIFYING PSR SCHEDULE
              Case 2:15-cr-00176-TLN Document 234 Filed 09/01/17 Page 2 of 3


 1   with the assigned probation officer, the probation department has completed the draft Pre-
 2
     Sentence Report (PSR), but the defense needs additional time to conduct investigation and gather
 3
     materials in support of its sentencing request. Defendant is a life-long resident of Stockton. As a
 4
     result, much of the potential mitigation evidence and witnesses are in San Joaquin County.
 5

 6          The government does not oppose the request and the assigned probation officer is

 7   available to appear on the requested date. It is therefore requested that the Court modify its
 8
     previously-set pre-sentence report disclosure schedule as follows:
 9
            1. Informal Objections to Draft Pre-Sentence Report: October 12, 2017;
10
            2. Final Pre-Sentence Report Date: October 26, 2017;
11

12          3. Motion for Correction Date: November 2, 2017; and

13          4. Reply Date: November 9, 2017.
14
            This request follows a guilty plea so an exclusion of time pursuant to the Speedy Trial
15
     Act is not required. Assistant U.S. Attorney Rosanne Rust has reviewed this proposed order and
16
     authorized Todd D. Leras to sign it on her behalf.
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19   DATED: August 31, 2017
                                                          By      /s/ Todd D. Leras for
20
                                                                  ROSANNE RUST
21                                                                Assistant United States Attorney

22   DATED: August 31, 2017                               By      /s/ Todd D. Leras
                                                                  TODD D. LERAS
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                                                                  Attorney for Defendant
24                                                                JAFFREY BROWN

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27   ORDER CONTINUING
     SENTENCING HEARING AND
28   MODIFYING PSR SCHEDULE
                 Case 2:15-cr-00176-TLN Document 234 Filed 09/01/17 Page 3 of 3


 1                                                 ORDER
 2
                The Judgment and Sentencing Hearing in this matter is continued to November 16, 2017,
 3
     at 9:30 a.m. The Court adopts the Pre-Sentence Report disclosure schedule proposed by the
 4
     parties.
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 6              IT IS SO ORDERED.

 7   DATED: September 1, 2017
 8                                                           Troy L. Nunley
                                                             United States District Judge
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27   ORDER CONTINUING
     SENTENCING HEARING AND
28   MODIFYING PSR SCHEDULE
